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 5                               UNITED STATES DISTRICT COURT
 6                                       DISTRICT OF NEVADA
 7
 8   UNITED STATES OF AMERICA,                 )
                                               )
 9                                 Plaintiff,  )                 Case No. 2:08-cr-00311-RLH-GWF
                                               )
10   vs.                                       )                 ORDER
                                               )                 and RECOMMENDATIONS
11   ARMEN PALIKYAN,                           )
     HAGOB PALIKYAN,                           )
12   ARMEN AMBARTSUMYAN,                       )
     GARY AMBARTSUMYAN,                        )
13   VAKHTANG GASPARIAN,                       )
     ARTUR AMBARTSUMYAN,                       )
14   IYAD NAZZAL, and                          )
     DANIMYAR DOSUNKULOV,                      )
15                                             )
                                   Defendants. )
16   __________________________________________)
17          This matter is before the Court on Defendant Danimyar Dosunkulov’s Motion for Joinder
18   in Defendants Hagob Palikyan and Armen Palikyan’s Joint Motion to Dismiss All Counts for
19   Investigative Misconduct Resulting in a Due Process Violation (Dkt. #220) and Defendant
20   Dosunkulov’s Motion for Joinder in Defendants Hagob Palikyan and Armen Palikyan’s Joint
21   Motion to Dismiss Counts Four Through Nine of the Indictment and All Allegations Related to the
22   Aggravated Identity Theft Penalty Enhancement (Dkt. #221), filed February 23, 2010.
23          To date, no party has opposed the present motions and the time for opposition has expired.
24   As a result, the Court will grant the motions for joinder. However, the District Judge previously
25   denied Defendant’s Motion to Dismiss All Counts for Investigative Misconduct Resulting in a Due
26   Process Violation (Dkt. #75) based on the Findings and Recommendations of the Court. (See Dkt.
27   #s 95, 133). Therefore, the Court recommends that Defendant Dosunkulov’s Motion to Dismiss
28   All Counts for Investigative Misconduct Resulting in a Due Process Violation pursuant to Joinder
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 1   be denied on the same basis. (See Dkt. #95). Accordingly,
 2          IT IS HEREBY ORDERED that Defendant Danimyar Dosunkulov’s Motion for Joinder
 3   in Defendants Hagob Palikyan and Armen Palikyan’s Joint Motion to Dismiss All Counts for
 4   Investigative Misconduct Resulting in a Due Process Violation (Dkt. #220) is granted.
 5          IT IS FURTHER ORDERED that Defendant Dosunkulov’s Motion for Joinder in
 6   Defendants Hagob Palikyan’s and Armen Palikyan’s Joint Motion to Dismiss Counts Four
 7   Through Nine of the Indictment and All Allegations Related to the Aggravated Identity Theft
 8   Penalty Enhancement (Dkt. #221) is granted.
 9                                          RECOMMENDATION
10          IT IS HEREBY RECOMMENDED that Defendant Dosunkulov’s Motion to Dismiss All
11   Counts For Investigative Misconduct Resulting in a Due Process Violation pursuant to Joinder be
12   denied.
13                                                  NOTICE
14          Pursuant to Local Rule IB 3-2, any objection to this Finding and Recommendation must be
15   in writing and filed with the Clerk of the Court within ten (10) days. The Supreme Court has held
16   that the courts of appeal may determine that an appeal has been waived due to the failure to file
17   objections within the specified time. Thomas v. Arn, 474 U.S. 140, 142 (1985). This circuit has
18   also held that (1) failure to file objections within the specified time and (2) failure to properly
19   address and brief the objectionable issues waives the right to appeal the District Court’s order
20   and/or appeal factual issues from the order of the District Court. Martinez v. Ylst, 951 F.2d 1153,
21   1157 (9th Cir. 1991); Britt v. Simi Valley United Sch. Dist., 708 F.2d 452, 454 (9th Cir. 1983).
22          DATED this 17th day of March, 2010.
23
24                                                  ______________________________________
                                                    GEORGE FOLEY, JR.
25                                                  United States Magistrate Judge
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